Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 1 of 43

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Frank Betz Associates, Inc.,
Plaintiff,

vs. C.A. No.: 1:08-cv-1216-ODE

Scenic Homes, Inc. d/b/a Scenic Homes,
et al.,

Defendants.

TENDER OF JURY INSTRUCTIONS REQUESTED BY
PLAINTIFF FRANK BETZ ASSOCIATES, INC.

Plaintiff Frank Betz Associates, Inc. hereby tenders to the Court its
proposed final jury instructions numbered 1 to 30 inclusive, and requests the
Court to give each of such instructions and to indicate before final argument
which of these instructions will be given and which will be refused.
Changes to, or additions to, these proposed instructions may be made as
proof is entered.

Respectfully submitted,
s/ Troy A. Tessier

Troy A. Tessier (Ga. Bar No. 142096)
Rita Bolt Barker (Ga. Bar No. 141725)

794842.1
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 2 of 43

Dated: August 23, 2010

7948421

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ATTORNEYS FOR PLAINTIFF
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 3 of 43

PLAINTIFFS REQUEST FOR CHARGE NO. 1

Overview of Case

This is a copyright infringement case involving claims by the
Plaintiff, Frank Betz Associates, Inc., that the Defendants infringed certain
architectural works of the Plaintiff — specifically, stock home plan designs
that are protected by the U.S. Copyright Act. The Plaintiff alleges that the
Defendants marketed, sold, built and/or constructed homes that were copied
or otherwise derived from certain home designs that are copyrighted by the
Plaintiff.

To prove that Defendants copied Plaintiff's designs, Plaintiff must
show that Defendants had access to Plaintiff's designs, and that Defendants’
designs are substantially similar to Plaintiff's designs. 1 have already
determined that Defendants had access to Plaintiff's designs. If you
determine that Defendants’ designs are substantially similar to Plaintiff's
designs, then Plaintiff will have met its burden of showing that Defendants
copied Plaintiff's designs.

Although the Defendants contended that they independently created
the designs, and that they had licenses to use Plaintiffs designs, I have
already ruled that neither of these defenses is available to Defendants.

Accepted
Rejected
Modified
Withdrawn

7948421
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 4 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 2

Multiple Defendants

There are eighteen Defendants in this case, and the Plaintiff has
charged each Defendant with infringing certain copyrights of the Plaintiff.

In order to make these instructions easier to understand, I may
sometimes use the singular term “Defendant” in the instructions. However,
you should understand that, unless I state otherwise, all of the instructions I
will give you govern the case as to each Defendant.

Accepted
Rejected
Modified
Withdrawn

794842.1
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 5 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 3

Copyright Generally

Copyright is the name for the protection that the law extends to an
author of an original work against the unauthorized appropriation of that
work by others. You are probably accustomed to hearing the word “author”
used for writings, but under the copyright law any creator of an original
work is referred to as an author. That is the term we use in copyright law for
the creator of an original work.

The owner of a copyright generally has the right to exclude any other
person from reproducing, distributing, performing, displaying, or using the
work covered by copyright, or preparing derivative works from the
copyrighted work, for a specific period of time. One who reproduces a
copyrighted work or prepares derivative works during the term of the
copyright infringes the copyright, unless he has been licensed to do so by the
copyright owner.’

Accepted
Rejected
Modified
Withdrawn

794842,]
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 6 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 4

Architectural Works

This case involves technical drawings and architectural works. The
term “architectural work” means the design of a building as embodied in any
tangible medium of expression, including the building itself, as well as
architectural plans or drawings for the building. The work includes the
overall form as well as the arrangement and composition of spaces and
elements in the design.” Protection for an architectural work does not
include individual standard features, such as doors or windows, but the
particular manner in which an architect has selected, arranged, and
combined them along with the other spaces and elements of the design is
protectible.? .

“Common design features such as the fact that a home has a kitchen
or a bedroom are not copyrightable. However, the ‘overall form as well as
the arrangement and composition of spaces and elements in the design’ are
protected.” “The phrase ‘atrangement and composition of spaces and
elements’ recognizes that ... creativity in architecture frequently takes the
form of a selection, coordination, or arrangement of unprotectible elements
into an original, protectible whole[.}””

“[M]odern mass-produced homes are commonly protected by
copyright despite the fact that these homes are comprised of standard
features. The originality and creativity in these architectural works is found
in the shape, arrangement, proportion, and location of the individual
elements of the work — regardless of whether the standard features standing
alone would merit copyright protection.”®

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Rejected
Modified
Withdrawn

794842.1
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 7 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 5

Copyright Infringement, “Copying”

The Plaintiff contends that the Defendants infringed Plaintiff's
copyrights in certain of the Plaintiff's home designs. Copyright is the
exclusive right to copy. The Plaintiff claims that each of the Defendants’
plans at issue in this case is an unauthorized, and therefore unlawful, copy of
one or more of the Plaintiff's plans.

As used in these instructions, “copy” or “copying” is a shorthand
reference to any infringement of the copyright holder’s exclusive rights, not
just literal and exact copying through use of a copying machine or line-for-
line duplication.’ A copyright holder has the exclusive rights to do and
authorize others to do the following: (1) to reproduce the copyrighted work,
(2) to prepare derivative works from the copyrighted work, and (3) to sell
copies of the copyrighted work or derivative works based on the copyrighted
work.® If someone does not own the copyright or have a license from the
copyright owner, it constitutes infringement for them to do any of these
things with a copyrighted work.’

Accepted
Rejected
Modified
Withdrawn

7948421
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 8 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 6

Copying — Derivative Works

“Copying” includes the use of a copyrighted architectural plan or
drawing to create “derivative works”.'° A “derivative work” means a work
“based upon one or more pre-existing works such as a translation,
abridgment, condensation, or any other form in which a work may be recast,
transformed, or adapted. A work consisting of editorial revisions,
elaborations, or other modifications, which as a whole represents an original
work of authorship, is a ‘Derivative Work,’” |!

In other words, “derivative works” are works that are different from
but based upon one or more preexisting works. A modified version of an
architectural plan or a house built from such a modified version can be a
derivative architectural work,”

A copyright owner is entitled to exclude others from creating a
derivative work based upon the owner’s copyrighted work. Accordingly, the
owner of a copyrighted work is entitled to exclude others from recasting,
transforming or adapting the copyrighted work without the owner’s
permission.

If the copyright owner exercises the right to create a derivative work
based upon the copyrighted work, this derivative work may also be
copyrighted.

The owner of a derivative work may protect and enforce his right to
exclude others in a lawsuit seeking monetary damages for copyright
infringement, such as this one."°

Accepted
Rejected
Modified
Withdrawn

794842.1
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 9 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 7

Copying Not Limited to Deposit Copy

The Plaintiff need not prove that the Defendant copied the specific
version of the work that is registered and on file at the Copyright Office.
For example, copying a floor plan of Plaintiff's copyrighted work in a
marketing brochure that is less detailed than the schematic drawing
registered and on file at the Copyright Office infringes the copyright."

Accepted
Rejected
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Withdrawn

794842.1
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 10 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 8

Elements of Infringement

To establish infringement of its copyrights in an architectural work,
the Plaintiff must prove two things: (1) ownership of a valid copyright; and
(2) copying of the house plan or architectural work by the Defendant."*

Accepted
Rejected
Modified
Withdrawn

7948421

10
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 11 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 9

Originality Not at Issue

To establish ownership of valid copyrights, a plaintiff must show its
work is original, which “means only that the work was independently
created by the author (as opposed to copied from other works), and that it
possesses at least some minimal degree of creativity....”"°

“[T]he overall arrangement of the various components making up
these designs shows the required minimal degree of creativity as a matter of
law. Though the individual components in each design may not be ‘unique’
in the sense that they had never before appeared in a home design plan until
Betz created them, uniqueness or novelty is not required for a design to
receive copyright protection. Rather, each design represents a series of
decisions made by a designer regarding placement, dimension, and
aesthetics, the culmination of which results in an overall form for the design
that is at least minimally creative. ...It is therefore the arrangement and
composition of space, placement of the design features, and other
architectural detail that makes each [Betz] plan original and protectable by
copyright.”””

The Court has already determined as a matter of law that the designs
of the Plaintiff include original, protected elements.’® Therefore, the
Plaintiff has met its burden of proof on that issue.

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Rejected
Modified
Withdrawn

794842.1
11
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 12 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 10

Copyright Ownership Not At Issue

In this case, the Court has already determined as a matter of law that
the designs of the Plaintiff are protected by copyright and that Plaintiff
therefore owns valid copyrights in the plans at issue.'? Therefore, the
Plaintiff has met its burden of proof on that issue.

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Rejected
Modified
Withdrawn

794842.1
12
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 13 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 11

Proof of Copying

In order to prevail on its copyright claim, the Plaintiff must prove that
one or more of the Defendants “copied” one or more of the Plaintiff's
architectural works. As I noted before, “copying” is a shorthand reference to
any infringement of the copyright holder’s exclusive rights, not just literal
copying or exact duplication.”

Plaintiff may prove copying either by direct proof of copying or by
proving that the Defendants had access to the copyrighted works and that the
allegedly infringing works are substantially similar to the protectible
elements of the copyrighted works,”!

An example of direct evidence would be an admission of a
Defendant’s employee or agent that he or she copied Plaintiff's work, or
testimony of someone who directed that Plaintiff's work be copied, saw the
work being copied, or who was directed to copy the work.

However, proof of that nature is seldom available to a plaintiff in
copyright cases. Therefore, circumstantial, or indirect, evidence is often
used in copyright cases to show infringement.” Circumstantial evidence is
proof supporting a logical inference that copying must have taken place.

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Rejected
Modified
Withdrawn

794842.1
13
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 14 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 12

Proof of Copying by Circumstantial Evidence

The Plaintiff may use circumstantial evidence to create a presumption
of copying by proof showing that Defendants had access to the copyrighted
work and that the Defendants’ work is substantially similar to the
copyrighted work.”? In the context of this case, substantial similarity may
also be referred to as probative similarity.”

Substantial or probative similarity, “in this sense, ‘exists where an
average lay observer would recognize the alleged copy as having been
appropriated from the copyrighted work.’

Among the circumstances for you to consider are these issues:

First, did the Defendants or their agents or employees have access to
the Plaintiff's plan?

Second, are there similarities between the Defendants’ plans and the
Plaintiff’ s?

And third, if there are similarities, are they of such a nature that they
probably could not have occurred without copying, or are there other
reasonable explanations for the similarities?

These are not the only questions that might arise on this issue. You
may consider any relevant circumstance, that is, any circumstances from
which you may draw an inference either that copying has taken place or that
copying has not taken place. The more extensive the similarity and the more
it extends to small arbitrary details, the more likely as a matter of common
sense that it is due to copying, rather than to a coincidence, or the
suggestiveness of the subject matter.”°

If you find, considering all of the circumstances, that it is more likely
than not that copying has taken place, then Plaintiff has sustained its burden
on that particular issue.7”

7948421
14
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 15 of 43

Accepted

Rejected

Modified

Withdrawn

794842.1
15
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 16 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 13
Access

Access means proof sufficient to show that the Defendants had a
reasonable opportunity to view the Plaintiffs plan.” Defendants conceded
that they had certain plans in their possession, and they had access to all of
Plaintiff's plans over the Internet or through print publications.”’ In this
case, the Court has already determined as a matter of law that the
Defendants had access to the Plaintiff's plans.*” Therefore, the Plaintiff has
met its burden of proof on this issue.

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Rejected
Modified
Withdrawn

794842,1

16
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 17 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 14

Substantial Similarity

On the subject of similarity, if you find similarities between the plans,
you must determine whether the similarities would be likely to occur without
copying. Certain similarities may be very convincing proof of copying. The
more original, unusual, imaginative or arbitrary the material, the less likely
that the similarity is a mere coincidence. The more extensive the similarity
and the more it extends to small arbitrary details, the more likely as a matter
of common sense that it is due to copying, rather than to a coincidence, or
the suggestiveness of the subject matter,”!

Accepted
Rejected
Modified
Withdrawn

7948421
17
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 18 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 15

Substantial Similarity — Architectural Works

You must determine whether Betz has met it burden of proving either
direct copying by the Defendants or that the Defendants’ designs are
substantially similar to the protectable elements of the copyrighted works.

In assessing substantial similarity, a factfinder applies the “ordinary
observer test” and asks “whether an average lay observer would overlook
any dissimilarities between the works and would conclude that one was
copied from the other.” In applying the ordinary observer test, “[glood eyes
and common sense may be as useful as deep study of reported and
unreported cases, which themselves are tied to highly particularized facts.”
The factfinder must look at the work as a whole without dissection. This
entails judging the “total concept and feel” of the structure, and a factfinder
must avoid taking a divide and conquer approach in assessing elements of
the work.”

I instruct you that the original elements of the Betz home design plans
include the arrangement and composition of the space and placement of the
design features.*? Further, considering the significant degree of detail shown
in the copyrighted material for each home design plan, the architectural
detail shown in the floor plans and elevation drawings are also protectable
aspects of the Betz designs.** Since the arrangement and composition of
space, placement of the design features, and other architectural detail that
makes each Betz plan original and protectable by copyright are embodied in
the overall home design plans, I instruct you that you must compare the
overall designs as a whole in determining whether you find them to be
substantially similar.” It is inappropriate to compare only standard features,
standing alone.*°

Accepted
Rejected
Modified
Withdrawn

794842.1
18
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 19 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 16

Copving of Non-Essential Details

If you should find that the Defendant’s plan contains nonessential
details identical to those found in Plaintiff's design, such evidence, if any, iS
most significant proof of copying and of the absence of original work on the
part of the Defendant. Such copying of non-essential details, if any, raises a
presumption that other portions of Defendant’s designs which are the same
as those in the original designs were likewise copied from Plaintiff's
design.

Accepted
Rejected
Modified
Withdrawn

794842.1
19
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 20 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 17

Literal Copying Not Required

“To demonstrate substantial similarity, a Plaintiff need not prove
mindless, slavish, or inartful copying. Rather, substantial similarity exists if,
comparing the allegedly infringing work to the copyrighted work, ‘[the
intended audience] would recognize the alleged copy as having been
appropriated from the copyrighted work.’ ”?8

Thus, substantial similarity does not require that the two works be
exact reproductions or nearly identical.’ Substantial similarity may be
shown by the similarity of the organization or structure of a work. Copying
other original elements of expression in a work may constitute
infringement.”

Accepted
Rejected
Modified
Withdrawn

794842.1
20
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 21 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 18

Minimal Copying No Excuse

If infringement has occurred, no plagiarist can excuse the wrong by
showing that there were parts of the copyrighted work that he did not copy.”
As long as some original expression has been copied, there is copyright
infringement.”

Accepted
Rejected
Modified
Withdrawn

794842.1
21
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 22 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 19

» Substantial Similarity — Evaluation of Differences

The existence of differences between the two works will not negate
infringement unless they so outweigh similarities that the similarities can
only be deemed inconsequential within the total context of the copyrighted
work.”

You may consider whether the total concept and feel of the works in
question are substantially similar.” Evaluating expression for substantial
similarity should be based on the ordinary observer’s overall Impression of
the two works, not on a detailed comparison of the two works, focusing on
individual differences.” “[A]n allegedly infringing work is considered
substantially similar to a copyrighted work if ‘the ordinary observer, unless
he set out to detect the disparities, would be disposed to overlook them, and
regard their aesthetic appeal as the same.””*°

Accepted
Rejected
Modified
Withdrawn

794842.1
22
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 23 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 20

Inference of Copying from Minor Distinctions

Small distinctions between a copyrighted work and another work may
be proof of a studied effort to make minor distinctions between the two
works and to appropriate the Plaintiff’s design either outright or by frivolous
variation. Such an effort, by itself, constitutes compelling evidence of

copying.”’

Accepted
Rejected
Modified
Withdrawn

794842.
23
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 24 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 21

Prima Facie Case

Proof of access, which the Court has already found, plus substantial
similarity creates a prima facie case that the Defendants copied the
Plaintiff's works. In other words, this evidence is enough for Plaintiff to
meet its burden of proof on the issue of copying, and Defendant then has the
burden of rebutting Plaintiff's claim by proving that copying did not occur.”

In the absence of an explanation by the Defendant adequately

accounting for the similarities, you must find that Plaintiff's copyright was
infringed.”

Accepted
Rejected
Modified
Withdrawn

7948421
24
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 25 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 22

Independent Creation

The Defendant can rebut Plaintiff's evidence of infringement by
showing with persuasive evidence that the Defendant’s plan was created
independently and not copied from or based upon Plaintiffs plan.”
Independent creation may be proved by showing that the Defendant’s works
were created without reliance on or reference to Plaintiff's plan.>’

I have determined that Defendants did not independently create any of
the designs at issue in this case.” Therefore, the defense of independent
creation is unavailable to the Defendants.

Accepted
Rejected
Modified
Withdrawn

794842.1
25
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 26 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 23

Definition of License

A license is a grant of permission from the copyright owner to allow
certain uses of a copyrighted work. All rights not transferred by a license
are retained by the copyright owner. Copyright licenses are assumed to
prohibit any use that is not authorized.>

In this case, I have already found that the Defendants did not have any
license to use any of the Betz Designs.™*

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Rejected
Modified
Withdrawn

794842.1
26
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 27 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 24

Liability of Defendants

All participants in an infringement are jointly and severally liable.>
Further, a defendant may be held vicariously liable for an infringement if he
or she has the ability to supervise the infringing activity and has a financial
interest in that activity.”

Accepted
Rejected
Modified
Withdrawn

794842.1
27
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 28 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 25

Infringers’ Profits — Gross Revenue

The law allows a successful Plaintiff to recover all profits of the
Defendant resulting from the copyright infringement.°’ Defendants’ profits
consist of the amount of money they made from their acts of infringement
after deducting the expenses of producing and selling the infringing works.”

The Plaintiff in a copyright infringement action need only prove the
gross revenues that the Defendants earned from the sale of the infringing
product.”’ In a case, such as this one, involving the alleged infringement of
architectural works, the plaintiff need not physically go through each
building sold by the defendants and sort through which ones are and are not
based on infringing plans; rather, the plaintiff may simply submit the gross
revenue shown by the defendants’ sales records as coming from the sales of
homes built from the allegedly infringing plans.©

Upon proof of gross revenues, the burden then shifts to the
Defendants to prove what expenses, if any, should be deducted from the
gross revenues to establish net profit.”

Plaintiff has proven the gross revenues that the Defendants were paid
by homeowners to purchase each of the allegedly infringing houses. This
evidence satisfies Plaintiff's burden of proving the Defendants’ profits.”

Accepted
Rejected
Modified
Withdrawn

794842.1
28
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 29 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 26

Direct Expenses — Burden of Proof

The Defendants bear the burden of proving the direct expenses they
incurred in constructing and selling any infringing houses.” If they fail to

prove their direct expenses, you must find the amount of their gross revenues
as the amount of their profits.™

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Modified
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794842.1
29
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 30 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 27

Direct Expenses — Manner of Proof

The Defendants must prove that they actually spent such amounts in
the creation or selling of the infringing houses, and that such expenditures
actually assisted in the creation or sale of the infringing houses.”

You should not consider evidence of average or overall profit margins
in determining direct expenses. In determining the direct expenses to
deduct from gross revenues, you should rely only on evidence of specific
expenses actually incurred.”

Any doubt as to the amount of the direct expenses or whether they
actually assisted the production or sale of a particular house must be
resolved against the Defendants and in favor of Plaintiff.

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Rejected
Modified
Withdrawn

794842.1
30
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 31 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 28

Proof of Overhead Expenses

Under certain circumstances the Defendants also may deduct from
gross revenues certain overhead expenses. The Defendants bear the burden
of proving three elements to do this.

First, a Defendant must prove that the overhead expenses it wishes to
deduct were actually incurred in the creation, marketing or sale of the
infringing house.” Stated differently, if the Defendant would have incurred
the expenses regardless of whether it developed, marketed or sold the
infringing house, you should not include it.”

Second, for a category of indirect or overhead expenses to have been
incurred in the development, marketing or sales of the infringing house, the
Defendant must prove that such category of expenses was of actual
assistance in the construction, marketing or sales of the infringing house. If
you cannot find, by a preponderance of the evidence, that the Defendant has
proven that a category of indirect or overhead expenses actually assisted in
the construction, marketing or sales of infringing houses, you should not
include it.”

Third, the Defendant must proffer a “fair and acceptable formula” for
determining how much of the claimed overhead expenses should be
allocated to the infringing activity.”

If you have any doubts as to the amount of overhead expenses,
whether they were actually incurred, whether they actually assisted the
construction, marketing or sales of the houses, or whether the Defendant has
proffered a fair and acceptable formula for allocating its claimed overhead
expenses, you must resolve them in favor of Plaintiff.

Accepted
Rejected
Modified
Withdrawn

794842.1
31
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 32 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 29

Apportionment of Infringer’s Profits

If you find that a Defendant infringed Plaintiff's copyrights, then
Plaintiff is entitled to all of that Defendant’s profits resulting from the
infringement,”

This means that the Defendants may deduct those profits, if any,
which resulted from elements of the product that did not infringe the
plaintiff's copyrighted work.” The Defendants bear the burden of proving,
by specific valuation evidence,’ what portions of their profits on the
infringing houses are not attributable to the infringement.”° To carry this
burden, the Defendants must prove what profits were attributable solely to
their own efforts, exclusive of any effect of Plaintiff's architectural
designs.” Moreover, non-infringing factors which are intertwined or
interdependent with infringing factors do not qualify for apportionment.”

All profits of the Defendants from the construction and sale of
infringing houses should be deemed attributable to the infringement unless
the Defendants prove by a preponderance of the evidence that they are not.
If the Defendants fail to present competent evidence that a portion of their
profits was due solely to factors other than the infringement, Plaintiff is
entitled to recover all of the Defendants’ profits from the infringing houses.”
If you have any doubts as to the amount of the profits or whether they
resulted solely from the Defendants’ non-infringing efforts, you must
resolve those doubts in favor of Plaintiff.®°

Accepted
Rejected
Modified
Withdrawn

794842.1
32
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 33 of 43

PLAINTIFF’S REQUEST FOR CHARGE NO. 30

Uncertainty as to Amount of Damages

Uncertainty as to the amount of damage, if any, does not deprive the
Plaintiff of its recovery. It will be sufficient if the evidence shows the extent
of the damages as a matter of just and reasonable inference, although the
result as to the actual amount of damage is only approximate. A wrongdoer
may not complain that the amount of damages caused by his wrongdoing
cannot be measured with exactness and precision.*!

Accepted
Rejected
Modified
Withdrawn

794842.1
33
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 34 of 43

CERTIFICATE OF SERVICE

I hereby certify that on August 23, 2010, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will

send notification of such filing to the following:

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Roger S. Sumrall (Ga. Bar No. 004490)

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34
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 35 of 43

Dated: August 23, 2010

794842.1

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35
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 36 of 43

O’Malley, Grenig & Lee, Federal Jury Practice and Instructions

(Civil), § 160.01 at 21 (West Sth ed. 2001); Order of March 11, 2010 at 10
(Doc. No. 129).

; 17 U.S.C. § 101.

Id; see also Oravec v. Sunny Isles Luxury Ventures L.C., 469 F.
Supp.2d 1148, 1166 (S.D. Fla. 2006) (stating that architectural work
“includes the overall form as well as the arrangement and composition of
spaces and elements in design, but does not include individual standard
features”); Order of March 11, 2010 at 19 (Doc. 129) (plaintiff's
arrangement and composition of space, placement of the design features, and
other architectural detail makes each plan original and protectable by
copyright).

* Order of March 11, 2010 at 8-9 (Doc. No. 129).

° Order of March 11, 2010 at 9 (Doc. No. 129).

° Order of March 11, 2010 at 9 (Doc. No. 129).

McCaskill v. Ray, 279 Fed. Appx. 913, 918 (11th Cir. 2008) (stating
“the owner of a copyright has the exclusive rights to do and authorize
reproduction, prepare derivative works, and distribute copies”); Gates
Rubber Co. v. Bando Chem. Indus., 9 F.3d 823, 832 (10th Cir. 1993).

8 17 U.S.C. § 106; O'Malley, Grenig & Lee, Federal Jury Practice and
Instructions (Civil) § 160.02 (citing 17 U.S.C. §§ 106, 501; Stewart v.
Abend, 495 U.S. 207, 220 (1990) (author holds bundle of exclusive rights in
copyrighted work, among them the right to copy and the right to incorporate
the work into derivative works)); see also Campbell v. Acuff-Rose Music,
Inc., 510 U.S. 569, 576 (1994).

? 17 U.S.C. §§ 106, 501(a).

0 See CMAX/Cleveland, Inc. v. UCR, Inc., 804 F. Supp. 337, 356 (M.D.
Ga. 1992) (stating that the Defendant “infringed Plaintiff's copyright by
violating its exclusive right to prepare derivative works”); Pickett v. Prince,
207 F.3d 402, 405-06 (7th Cir. 2000).

17 U.S.C. §101.

12 17 U.S.C. § 101; Order of March 11, 2010 at 16 (Doc. 129)
(“[C]ourts have held that derivative works of the same creator, even if they
are not independently copyrighted, carry forward all pre-existing copyrights
in the original work.”).

3 Manual of Model Civil Jury Instruction for the District Courts of the
Ninth Circuit, Instruction No. 20.13 (2001).

14 Donald Frederick Evans v. Continental Homes, Inc., 785 F.2d 897,
904-05 (11th Cir. 1986) (depictions of copyrighted floor plans in

3

794842.
36
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 37 of 43

unregistered brochures are protected by copyright laws); Nat’l Conference of
Bar Examiners v. Multistate Legal Studies, Inc., 692 F.2d 478, 487 (7th Cir.
1982) (“the Copyright Act, when viewed as a whole, negates the notion that
deposit requirements are for the purpose of delineating the scope of a
copyright through public disclosure.”); Imperial Homes Corp. v. Lamont,
458 F.2d 895, 899 (Sth Cir 1972).

Order of March 11, 2010 at 10 (Doc. 129); Peter Letterese & Assocs.,
Inc. v. World Institute of Scientology Enterprises, 533 F.3d 1287, 1300 (11th
~ Cir. 2008); Feist Publ'ns v. Rural Tel. Serv., 499 U.S. 340, 345-46 (1991);
Donald Frederick Evans v. Continental Homes, Inc., 785 F.2d 897, 903
(11th Cir. 1986); accord Ale House Mgmt. v. Raleigh Ale House, 205 F.3d
137, 143 (4th Cir. 2000); Lyons P’ship, L.P. v. Morris Costumes, Inc., 243
F.3d 789, 801 (4th Cir. 2001); Keeler Brass Co. v. Continental Brass Co.,
862 F.2d 1063, 1065 (4th Cir. 1988).

'° Order of March 11, 2010 at 16 (Doc. 129).

” Order of March 11, 2010 at 19 (Doc. 129).

‘Order of March 11, 2010 at 15, 17-19 (Doc. 129),

“Order of March 11, 2010 at 15, 17-19 (Doc. 129).

°° McCaskill v. Ray, 279 Fed. Appx. 913, 918 (11th Cir. 2008) (stating
“the owner of a copyright has the exclusive rights to do and authorize
reproduction, prepare derivative works, and distribute copies”); Gates
Rubber Co. v. Bando Chem. Indus., 9 F.3d 823, 832 (10th Cir. 1993)..

*! Order of March 11, 2010 at 10, 11, 22 (Doc. 129); Peter Letterese &
Assocs., Inc. v. World Institute of Scientology Enterprises, 533 F.3d 1287,
1300-01 (11th Cir. 2008).

22 Peter Letterese & Assocs., Inc. v. World Institute of Scientology
Enterprises, 533 F.3d 1287, 1300-01 (11th Cir. 2008); Baby Buddies, Inc. v.
Toys R Us, Inc., No. 08-17021, 2010 WL 2853720, at *3 (11th Cir. 2010);
Keeler Brass Co. v. Continental Brass Co., 862 F.2d 1063, 1065 (4th Cir.
1988).
3 Original Appalachian Artworks, Inc. v. Toyloft, Inc., 684 F.2d 821,
829 (11th Cir. 1982); see also Peel & Co. v. The Rug Mit., 238 F.3d 391,
394 (Sth Cir. 2001); Lyons P’ship, LP. v. Morris Costumes, Inc., 243 F.3d
789, 801 (4th Cir. 2001); Towler v. Sayles, 76 F.3d 579, 581-82 (4th Cir.
1996); Ale House Mgmt. v. Raleigh Ale House, 205 F.3d 137, 143 (4th Cir,
2000); Keeler Brass Co, v. Continental Brass Co., 862 F.2d 1063, 1065 (4th
Cir. 1988).

“Order of March 11, 2010 at 29 (Doc. 129).

794842.
37
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 38 of 43

» Peter Letterese & Assocs., Inc. v. World Inst. of Scientology Enters., 533
F.3d 1287, 1315 (11th Cir, 2008).

*6 See 3 Devitt, Blackmar & Wolff, Federal Jury Practice and
Jnstructions § 99.08 (4th Ed. 1987).

7 Metal Morphosis, Inc. v. Acorn Media Publ’g, 639 F, Supp. 2d 1367,
1375 (N.D. Ga. 2009) (“Having pled the existence of a valid copyright, the
Plaintiff must prove coping by a preponderance of the evidence.”); Value
Group, Inc. v. Mendham Lake Estates, L.P., 800 F. Supp. 1228, 1233
(D.N.J. 1992) (finding infringement because a side by side comparison of
floor plans demonstrated that many of the details of the two designs were the
same, such as the placement, design and size of many windows); Richmond
Homes Mgmt. v. Raintree, Inc., 862 F. Supp. 1517, 1526 (W.D. Va. 1994)
(copyright holder can establish infringement by proving the Defendant
copied floor plans); Kent v. Revere, No. 84-798-CIV-ORL-18, 1985 WL
6453, at *6 (M.D. Fla. Oct. 28, 1985) (copying floor plans constitutes
infringement).

* Fisher-Price, Inc. v. Well-Made Toy Mfg. Corp., 25 F.3d 119, 123 (2d
Cir. 1994) abrogated on other grounds by Salinger v. Colting, 607 F.3d 68
(2d Cir. 2010); Ale House Mgmt. v. Raleigh Ale House, 205 F.3d 137, 143
(4th Cir. 2000); see also Corwin v. Walt Disney Co., 475 F.3d 1239, 1253
(11th Cir. 2007) (“Access requires proof of a reasonable opportunity to view
the work in question.”).

*° Order of March 11, 2010 at 20-22 (Doc. 129).

* Order of March 11, 2010 at 22 (Doc. 129) (“the Court holds that summary
judgment on the issue of access as to the Betz designs is granted against the
Scenic Defendants”).

3 See 3 Devitt, Blackmar & Wolff, Federal Jury Practice and
Instructions § 99.08 (4th Ed. 1987).

* Axelrod & Cherveny Architects v. Winmar Homes, No. 2:05-cv-711-ENV-
ETB, 2007 WL 708798, at *12 (E.D.N.Y. 2007) (internal citations omitted).
* Order of March 11, 2010 at 29 (Doc No. 129).

** Order of March 11, 2010 at 29 (Doc No. 129).

*° Order of March 11, 2010 at 19, 29 (Doc No. 129); Arthur Rutenberg
Homes, Inc. v. Maloney, 891 F. Supp. 1560, 1568 (M.D. Fla. 1995);
Richmond Homes Mgmt, Inc. v. Raintree, Inc., 862 F. Supp. 1517, 1527
(W.D. Va. 1994); Value Group, Inc. v. Mendham Lake Estates, L.P., 800 F.
Supp. 1228, 1232 (D.N.J. 1992).

*© Order of March 11, 2009 at 9 (Doc. No. 129) (citations within the Order
omitted).

794842.1
38
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 39 of 43

7 2 D. Burton, Jury Instructions in Intellectual Property Cases,

40:53:11 (1990) (citing Roy Export Co. v. Columbia Broadcasting System,
Inc., 503 F. Supp. 1137 (S.D.N.Y. 1980), aff'd, 673 F.2d 1045 (2d Cir.
1982)).

38 Arthur Rutenberg Homes, Inc. v. Maloney, 891 F. Supp. 1560, 1567
(M.D, Fla. 1995); accord Original Appalachian Artworks, Inc. v. T, oy Loft,
684 F.2d 821, 829 (11th Cir. 1982); Arthur Rutenberg Corp. v. Parrino, 664
F. Supp. 479, 481 (M.D. Fla. 1987).

° Cornerstone Home Builders, Inc. v. McAllister, 303 F. Supp. 2d 1317,
1321 (M.D. Fla. 2004); Arthur Rutenberg Homes, Inc. vy. Maloney, 891 F.
Supp. 1560, 1567 (M.D. Fla. 1995); Value Group v. Mendham Lake Estates,
800 F. Supp. 1228, 1233 (D.N.J. 1992).

* Moore v. Columbia Pictures Indust, Inc., 972 F.2d 939, 946 (8th Cir.
1992); Nelson v. PRN Prods., Inc., 873 F.2d 1141, 1142 (8th Cir. 1989);
Universal Athletic Sales Co. v. Salkeld, 511 F.2d 904, 907 (3d Cir.), cert.
denied, 423 U.S. 863 (1975); 3 Devitt, Blackmar & Wolff, Federal Jury
Practice and Instructions § 99.08 (4th Ed. 1987).

* Sheldon v. Metro-Goldwyn Pictures Corp., 81 F.2d 49, 56 (2d Cir.
1936), cert. denied, 298 U.S. 669 (1936), quoted with approval in Peter
Letterese & Assocs., Inc. v. World Inst. of Scientology Enters., 533 F.3d
1287, 1315 (11th Cir. 2008); 3 M. Nimmer, Nimmer on Copyright §
13.03[b][1][a] at 13-48 to 13-49.

“See Rogers v. Koons, 960 F.2d 301, 308 (2d Cir.), cert. denied, 506
U.S. 934 (1992).

* Durham Indus., Inc. v. Tomy Corp., 630 F.2d 905, 913 n.11 (2d Cir.
1980); Arthur Rutenberg Homes, Inc. v. Maloney, 891 F. Supp. 1560, 1567-
68 (M.D. Fla. 1995); CSM Investors v. Everest Dev., 840 F. Supp. 1304,
1312 (D. Minn. 1994); 3 M. Nimmer, Nimmer on Copyright § 1303.3[B] at
13-43. Cf Bateman v. Mnemonics, Inc., 79 F.3d 1532, 1544 n.25 (11th Cir.
1996) (stating “[t]wo works need not be identical in order to be deemed
‘substantially similar’ for copyright purposes”).

“CSM Investors v. Everest Dev., 840 F. Supp. 1304, 1312 (D. Minn,
1994); Digital Comme’ns Assocs., Inc., v. Softklone Distrib. Corp., 659 F,
Supp. 449, 465 (N.D. Ga. 1987); Sturdza v. United Arab Emirates, 281 F.3d
1287, 1296 (D.C. Cir. 2002); Shine v. Childs, 382 F. Supp. 2d 602, 610
(S.D.N.Y. 2005) (“total concept and feel” is the dominant standard used to
evaluate substantial similarity”).

“5 Richmond Homes Mgmt. v. Raintree, Inc., 862 F. Supp. 1517, 1527
(W.D. Va. 1994); 2 D. Burton, Jury Instructions in Intellectual Property

7948421
39
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 40 of 43

Cases, 40:53:11 (1990) (citing Transgo, Inc. v. Ajac Transmissions Parts
Corp., 768 F.2d 1001 (9th Cir. 1985)). Cf Lentek Intern. Inc., v. Sharper
Image Corp., 164 F, Supp.2d 1302, 1306 (N.D. Fla. 2001) (stating that “in
determining whether two items are substantially similar, the finder of fact
need not conduct a side-by-side comparison of the two

items, ..[because]...[t]he accused design does not have to be identical to
infringe... [rJather, it is the overall ornamental impression of the two designs,
not isolated elements that must be considered.”).

*° ‘Shine v. Childs, 382 F. Supp. 2d 602, 614 (S.D.NLY. 2005) (quoting
Folio Impressions, Inc. v. Byer California, 937 F.2d 759, 765 (2d Cir.
1991)).
*"_ M. Kramer Mfg. Co., Inc. v. Andrews, 783 F.2d 421, 446 (4th Cir.
1986); see also Tennessee Fabricating Co. v. Moultrie Mfg. Co., 421 F.2d
279, 284 (Sth Cir. 1970) (“Infringement is not confined to exact
reproduction but includes colorable alterations made to disguise the
piracy.”).

“See Herzog v. Castle Rock Entm’t, 193 F.3d 1241, 1249 (11th Cir.
1999) (stating that once the plaintiff has demonstrated access and substantial
similarity “the burden shifts to the defendant to prove that his/her work was
not a copy, but rather was an independent creation”): Moore v. Columbia
Pictures Industs., Inc., 972 F.2d 939, 941-42 (8th Cir. 1992),

8 2 D. Burton, Jury Instructions in Intellectual Property Cases,
Appendix C, page C-15 (1983) (citing Monogram Models v. Industro-Motive
Corp., CA No. 32089 (E.D. Mich. 1973), aff'd, 492 F.2d 1281 (6th Cir.
1974), cert. denied, 419 U.S. 843 (1974); Miller Studio, Inc. v. Pacific
import Co., 39 F.R.D. 62 (S.D. N.Y. 1965)).

°” Gund, Inc. v. Russ Berrie and Co., Inc., 701 F. Supp. 1013, 1025
(S.D.N.Y. 1988) (citing Mode Art Jewelers, Co. v. Expansion Jewelry, Ltd.,
199 U.S.P.Q. (BNA) 329, 340 (S.D.N.Y. 1977)); 3 M. Nimmer, Nimmer on
Copyright § 13,01[B], at 13-9; § 12.11[D], at 12-85-86 (1988)); see also
Arthur Rutenberg Homes, Inc. v. Maloney, 891 F. Supp. 1560, 1567 (M.D.
Fla. 1995) (after plaintiff establishes access and substantial similarity, “[t]he
burden shifts to the Defendant to rebut this presumption by persuasive
evidence of independent creation”) (citing Original Appalachian Artworks,
Inc. v. Toy Loft, Inc. , 684 F.2d 821, 829 (11th Cir. 1982)); Novelty Textile
Mills, Inc. v. Joan Fabrics Corp., 558 F.2d 1090, 1092 (2d Cir. 1977);
Original Appalachian Artworks, Inc. v. Toy Loft, 684 F.2d 821, 829 (11th
Cir. 1982); Keeler Brass Co. v. Continental Brass Co., 862 F.2d 1063, 1065
(4th Cir. 1988).

794842.1

40
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 41 of 43

°! Arthur Rutenberg Homes, Inc. v. Maloney, 891 F. Supp. 1560, 1567

(M.D. Fla. 1995); Miller v. Universal City Studios, Ine., 650 F.2d 1365,
1375 (Sth Cir. 1981).

** Order of March 11, 2010 at 30-31 (Doc. 129).

°3 S.0.S., Inc, v. Payday, Inc., 886 F.2d 1081, 1088 (9th Cir. 1989);
PlayMedia Sys.’s, Inc. v. America Online, Inc., 171 F. Supp. 2d 1094, 1099
(C.D. Cal. 2001); see also LA.E., Inc. v. Shaver, 74 F.3d 768, 775 n.7 (7th
Cir. 1996) (“In its simplest form, a license means only leave to do a thing
which the licensor would otherwise have a right to prevent.”). Cf
CMAX/Cleveland, Inc. v. UCR, Inc., 804 F. Supp. 337 (M.D. Ga. 1992)
(licensee infringes owner’s copyright if licensee’s use exceeds scope of
copyright) (citing S.O.S., Inc. v, Payday, Inc., 886 F.2d 1081, 1087-89 (9th
Cir. 1989)).

4 Order of March 11, 2010 at 29 (Doc. 129) (“it is undisputed that none
of the Scenic Defendants had any license to use any of the Betz designs”).

°° Order of March 11, 2010 at 30 (Doc. 129).

°° Order of March 11, 2010 at 30 (Doc. 129).

°7 17 U.S.C. § 504(a).

8-17 U.S.C. § 504(b).

17 U.S.C. § 504(b)

°° See Nelson-Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505, 512
n.10 (4th Cir. 2002) (plaintiff need not go through each building in a large
development and sort through which ones are and are not based on
infringing plans; instead, plaintiff may simply submit the gross revenue from
a project that included infringing buildings or elements, and defendants then
have burden to exclude non-infringing buildings); see also Fed R. Evid.
801(d}(2) (admissibility of admissions by party-opponent).

*' 17 U.S.C. § 504(b); Montgomery v. Noga, 168 F.3d 1282, 1296 (11th
Cir. 1999).

* See Associated Residential Design, LLC v. Molotky, 226 F. Supp. 2d 1251,
1256 (D. Nev. 2002) (total value of infringing building may be considered
part of infringing gross revenues and thus recoverable once expenses are
deducted).

17 U.S.C. § 504(b).

** Johnson vy. Jones, 149 F.3d 494, 506 (6th Cir. 1998); Wilcom Pty. Ltd.
v. Endless Visions, No. 98-71421, 1999 WL 33229745, at * 2 (E.D. Mich.
1999); Williams v. Arndt, 626 F. Supp. 571, 582 (D. Mass. 1985).

794842.
41
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 42 of 43

°° Branch v. Ogilvy & Mather, Inc., 772 F. Supp. 1359, 1363 (S.D.N.Y.
1991); see also Wilkie v. Santly Bros., 139 F.2d 264, 265 (2d Cir. 1943)
(stating that “[o]verhead which does not assist in the production of the
infringement should not be credited to the infringer”).

6° Johnson v. Jones, 149 F.3d 494, 506-07 (6th Cir. 1998).

°7 Johnson v. Jones, 149 F.3d 494, 506-07 (6th Cir. 1998).

** Frank Music Corp. v. MGM, Inc., 772 F.2d 505, 514 (9th Cir. 1985);
Andreas v. Volkswagen of America, Inc., 336 F.3d 789, 795 (8th Cir. 2003)
(citing Frank Music Corp. v. MGM, Inc., 772 F.2d 505, 514 (9th Cir. 1985)).
*°  Konor Enters., Inc. v. Eagle Pub’ns, Inc., 878 F.2d 138, 141 (4th Cir.

"Taylor v. Meirick, 712 F.2d 1112, 1121 (7th Cir. 1983); see also
Sheldon v, Metro-Goldwyn Pictures Corp., 106 F.2d 45, 54 (2d Cir. 1939)
(“Overhead which does not assist in the production of the infringement
should not be credited to the infringer.”).

7 Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772 F.2d 505, 516
(9th Cir. 1985).

” Thomas M. Gilbert Architects, P.C. v. Accent Builders & Developers,
LLC, No. 08-2103, 2010 WL 1804135, at *6 (4th Cir. 2010); Alexander v.
Chesapeake, Potomac & Tidewater Books, Inc., 60 F. Supp. 2d 544, 550
(E.D. Va. 1999); Lawton v. Melville Corp., 116 F.3d 1472, at *2 (2d Cir.
1997) (“Overhead expenses are an appropriate deduction from the profits of
the infringer so long as the infringer proffers [ ] a ‘reasonable formula’ for
allocating a given portion of the overhead to the particular infringing items
in issue.”’).

® 17 U.S.C. § 504(b).

"Sheldon v. Metro-Goldwyn Pictures Corp., 309 US. 390, 406 (1940);
Walker v. Forbes, Inc., 28 F.3d 409 (4th Cir. 1994).

*% Flying J, Inc. v. Cent. CA Kenworth, 45 Fed. Appx. 763, 765-66 (9th
Cir. 2002).

% Konor Enters., Inc. v. Eagle Publ’ns, Inc., 878 F.2d 138, 140 (4th Cir.

"— Walker v. Forbes, Inc., 28 F.3d 409, 414 (4th Cir. 1994); Rogers v.
Koons, 960 F.2d 301, 313 (2d Cir. 1992).

7% Walker v. Forbes, Inc., 28 F.3d 409, 414 (4th Cir. 1994); Bus. Trends
Analysts, Inc. v. Freedonia Group, Inc., 887 F.2d 399, 407 (2d Cir. 1989);
Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539, 567 (1985);
Belford, Clarke & Co. v. Scribner, 144 U.S. 488 (1892); Callaghan y.
Myers, 128 U.S. 617, 666 (1888).

794842.1
42
Case 1:08-cv-01216-ODE Document 192 Filed 08/23/10 Page 43 of 43

” Johnson v. Jones, 149 F.3d 494, 506 (6th Cir. 1999); Walker v.

Forbes, Inc., 28 F.3d 409, 414 (4th Cir. 1994),

*° Walker v. Forbes, Inc., 28 F.3d 409, 414 (4th Cir. 1994); Frank Music

Corp. v. MGM, Inc., 886 F. 2d 1545, 1549 (9th Cir. 1989).

*! See 2 D. Burton, Jury Instructions in Intellectual Property Cases, 40:81:41
(1990).

7948421
43
